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Attomeylq Plaintif


                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIYISTON


LIBTANN BOWEN,                                               COMPLAINT

                   Ptaintiff'

                                                             Case no: 2:10-cv-01219-DS

H(PRESS RECOVERY SERVICES,INC.                 &
EDWIN B. PARRY, P.C.,
                                                             JTJRY   TRIAL DEMANDED
                  Defendants.
                                     I. INTRODUCflON
         l.    This is an action for damages brought by an individual consumq for Defendant's

violations ofthe federal Fair D€bt Collection Praptices Act, l5 U.S.C. $ 1692, et seq. (hereinafter

'FDCPA').

                                      II,   JURISDICTION

         2.    Plaintiffs claim for violations of the FDCPA      adses under 15 U.S.C.    $ 1692k(d),

and thereforc involves a'Tederal question" pusuant to 28 USC $ 1331.

                                            III.   PARTIES

         3.    Plaintiff, Libiann Bow€n C?laintiff), is   a natural person residing   iu Utah County,

Utah.
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       4.       Defendants, Express Recovery Services,           Inc.   &   Edwin B. Parry,     P,C.,

('Defendanis") are each business entities €ngaged in the business of collecting debts by use of

the mails and telcphone. Defendants rcgularly attempt to collect debts alleged due another.

                                    IV. TACTUAL ALLEGATIONS

       5.       Defendants are each a "debt collector" as defined by the FDCPA, 15 U.S.C, $

t69246).

       6.       Plaintiffis a'tonsumer"   as defined by the   FDCPA, l5 U.S.C. $ 1692a(3).

       7.       All activities ofDefendants   set out herein were undertake[ in connection   with the

collection of a "debl," as defined by l 5 USC $ 1 692a(5).

                Within the last year, Defendants took multiple actions in an attempt to collect a

debt fiom Plaintiff. Defendants' conduct violated the FDCPA in multiple ways, including the

following.

       9.       Under the dilection and control of Defendant Express Recovery Services, Inc.,

Defendant Edwin B. Parry, P.C. ("Parry"), sellt a letter to Plaintiff dated August 10, 2010 ("The

Initial Dun"). (See Initial Dun, attached hereto as Exhibit    *A").    The Initial Dun threatened in

multiple places that Parry could sue Plaintiff within the thirty-day dispute period, which

overshadowed the disclosures required by       $   1692g(a), causing such disclosures ineffectively

conveyed to the least sophisticated consumer. The letter does not explain what effect, if any, a

timely dispute would have on Defendant's ability to sue (g 1692g(a) & $ 16929(b)).

       10. As a rcsult of the aforementioned             violations, Plaintill suffered injuries to

Plaintilfs feelings, personal humiliation, embarnssmenl, mental alguish      and emotional distress.

       I   l.   To the extent Defendants' actions, detailed in paragraphs 8-9, were carried out by
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an employee of either Defendant, that employee was acting within the scope of his or her

employment.

       COUNT    l: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT
        12.    Plaintiffreincorporates by reference all ofthe preceding paragaphs.

        13,    The preceding paragraphs state a prima fqcie case       foi Plaintiff   and against

Defendants for violations ofthe FDCPA, gg 1692g(b)    &   1692g(a).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff !€spectfully prays that judgment be             e   ered against the

Defendants for the following:

       A.      Declantoryiudgment that Defendants' conduct violated the FDCPA;

       B.      Actual damages pusuant to l5 USC 1692k;

       C.      Statutory damages pulsuant to l5 U.S.C. g 1692k;

       D.     Costs, disbusements and rcasonable attomey's fees for all successful claims, and

any unsuccessful claims arising out of the same transaction or occru?ence as the successful

claims, pursuant to 15 U.S.C. $ 1692k; and,

       E.     For such other and further relief as may bejust and proper.

                 PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY

Dated this 7d day ofDecember, 2010.
                                                                       GROUP, P.C.




PLAINTIFF'S ADDRESS
Orcm, UT 84097
